Case 23-30672-5-wak Doc57-1 Filed 04/09/25 Entered 04/09/25 10:34:53 Desc
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EXHIBIT A

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UNITED STATES BANKRUPTCY COURT
NOTHERN DISTRICT OF NEW YORK

In Re:
Joseph A, DiMino, Jr. Case No.: 23-30672-WAK

Debtor. . Chapter 13

CONDITIONAL ORDER LIFTING AUTOMATIC STAY

Upon the Motion of M&T Bank for an Order pursuant to Sections 362(d) of the Bankruptcy
Code, lifting and vacating the automatic stay as to the Debtor allow it to repossess property known
as a 2015 Mercedes-Benz C-Class motor vehicle ‘bearing vehicle identification number
55SWE4KB8FU031553 (the “Collateral”), and the parties having come to the following
agreement, it is hereby

STIPULATED AND AGREED, that within 45 calendar days of this order, the Debtor shall
pay all arrears due and owing, which is currently $1,029.15, to M&T Bank by mailing payments
to M&T Bank Attn: Bankruptcy Specialist, 475 Crosspoint Parkway, Getzville, New York 14068;
and

STIPULATED AND AGREED, that beginning with the February 1, 2024 regular monthly
payment, Debtor shall make all payments owing to M&T Bank on time and in full by mailing
payments to M&T Bank Attn: Bankruptcy Specialist, 475 Crosspoint Patkway, Getzville, New —
York 14068, and, upon the failure to do so, M&T Bank shall send a 10 day demand letter to Debtor
and Debtor’s attorney, and upon the failure to cure within the 10 day period, M&T Bank may file
an affidavit of non-compliance and submit an order for the court’s signature that vacates the
automatic stay pursuant to 11 U.S.C. 362 to permit M&T Bank to repossess and sell the Collateral;

and it is further

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STIPULATED AND AGREED, that Debtor shall pay io M&T Bank the filing fee of
$199.00 incurred by M&T Bark in bringing this motion by February 1, 2024; and it is further
STIPULATED AND AGREED, that any Trustee’s right to surplus funds is hereby

preserved.
Dated: Jamary 7U , 2 0 2024

Approved:

Bhatt Law Firm _

By; Neij/Pardk Bhatt, Esq. —
Attorney for Debtor

M&T Bank

Lathe Bil

By: Tyler J. ONeill, Esq.
Attomey for M&T Bank

SO ORDERED:

Entered: J Chana A aoa

United States Bankruptcy Judge

